        Case 18-27004   Doc 30    Filed 11/27/18   Entered 11/27/18 09:45:09   Desc Main
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                                     STATES BANKRUPTCY    1
                               WESTERN DISTRICT OF TENNESSEE

In re:                                                                    Chapter 13
DONNA RAY JOHNSON
Debtor(s)                                                           Case No. 18-27004-L

                                       NOTICE OF HEARING

      The Chapter 13 Trustee's Objection To Confirmation having been filed by Sylvia
Ford Brown on November 16, 2018.
      NOTICE IS HEREBY GIVEN THAT:
      The Chapter 13 Trustee's Objection To Confirmation shall be held on January
03, 2019, at 9:00 am in the United States Bankruptcy Court, Room 600, 200 Jefferson
Avenue, Memphis, Tennessee, 38103.
      Debtors should contact their attorney to see if their attendance is necessary .
This hearing may be continued or adjourned from time to time by oral announcement
(at the hearing) of the continued or adjourned date and time, without further
written notice.
                                                      /s/ Sylvia Ford Brown
                                                      CHAPTER 13 TRUSTEE


                                  OBJECTION TO CONFIRMATION

      Comes now your Standing Chapter 13 Trustee who would show unto the Court the
following for which relief is sought:

1.    It is reasonably believed and the proof will show that:
The Chapter 13 Petition and plan fail to comply with 11 U.S.C.§1325 (4) which states
that unsecured claims should receive a greater distribution than would be received
under a Chapter 7 proceeding.

2.    Because the petition    fails to comply with applicable provisions of the
Bankruptcy Code, the confirmation      should be denied and the debtor given an
opportunity to submit a modified plan within a reasonable time.

      PREMISES CONSIDERED, your Chapter 13 Trustee prays:

1.       That the Court set this objection for a hearing.

2.    That the Court deny confirmation and grant the debtor a reasonable time in
which to submit the modified plan.

3.    That the Chapter 13 Trustee be granted such other and further relief to which
he or she may be entitled.

                                                           /S/ Sylvia Ford Brown
                                                           CHAPTER 13 TRUSTEE

CC:      CHAPTER 13 TRUSTEE
SZ
         DONNA RAY JOHNSON
         3016 ELGIN DR
         MEMPHIS, TN 38115

         JULIET HILL AKINES ATTORNEY

         All Entities On Matrix
